     Case 8:19-cv-02412-VBF-KS Document 19 Filed 09/18/20 Page 1 of 1 Page ID #:503




1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
      MARILU F. TOUMA,                  )          NO. SA CV 19-02412-VBF (KS)
11                                      )
                        Plaintiff,
12                                      )
              v.                        )          ORDER ACCEPTING FINDINGS AND
13                                      )          RECOMMENDATIONS OF UNITED
14                                      )          STATES MAGISTRATE JUDGE
      THE E.E.O.C., et al.,
                                        )
15                      Defendants.     )
16    _________________________________ )
17
            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, all of the records
18
      herein, and the Report and Recommendation of United States Magistrate Judge (“Report”). The
19
      time for filing Objections to the Report has passed, and no Objections have been filed with the
20
      Court. The Court accepts the findings and recommendations in the Report. Accordingly, IT IS
21
      ORDERED that: (1) the Complaint is DISMISSED; and (2) Judgment shall be entered
22
      dismissing this action without prejudice.
23
24
      DATED: September 18, 2020                              ________________________________
25
26                                                             VALERIE BAKER FAIRBANK
27                                                           UNITED STATES DISTRICT JUDGE

28
